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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
ARISTIDES ALFREDO DILLATORO and
FRANCISCO RODRIGUEZ,

                                   Plaintiffs,

        - against -                                              AMENDED JUDGMENT
                                                                 CV 16-254 (JS) (ARL)
DENNIS D’ONOFRIO, RIDGE RESTAURANT,
INC. doing business as Alfredo’s Pizza and
PHILIP D’ONOFRIO,

                                    Defendants.
-------------------------------------------------------------X

        An Order Adopting Report and Recommendations of Honorable Denis R. Hurley, United

States District Judge, having been filed on June 23, 2022; adopting the May 25, 2022 Report and

Recommendation of United States Magistrate Judge Arlene R. Lindsay; granting Plaintiff

Aristides Alfredo Dillatoro’s motion for attorney’s fees and costs as follows: $27,588.75 in

attorneys’ fees and $1,742.27 in costs for a total of $29,331.02; and directing the Clerk of Court

to enter judgment in favor of Plaintiffs’ attorneys, the Moser Law Firm, P.C.; and an Electronic

Order, of the Honorable Joanna Seybert, having been filed on December 19, 2022, granting in

part Plaintiff’s motion to amend the June 27, 2022 Judgment for attorney’s fees, and directing

the Clerk of Court to amend the Judgment to include a provision which states: “If any amounts

remain unpaid upon the expiration of ninety days following issuance of the Amended Judgment,

or ninety days after expiration of the time to appeal and no appeal therefrom is then pending, the

total amount of the Amended Judgment shall automatically increase by fifteen percent,” it is

        ORDERED AND ADJUDGED that Plaintiff Aristides Alfredo Dillatoro’s motion for

attorney’s fees and costs is granted; that the Moser Law Firm, P.C. is awarded a judgment in the

total amount of $29,331.02 for attorney’s fees and costs against Defendants Ridge Restaurant,
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Inc., and Dennis D’Onofrio; that Plaintiff’s motion to amend the June 27, 2022 Judgment for

attorney’s fees is granted in part; and that if any amounts remain unpaid upon the expiration of

ninety days following issuance of the Amended Judgment, or ninety days after expiration of the

time to appeal and no appeal therefrom is then pending, the total amount of the Amended

Judgment shall automatically increase by fifteen percent,.


Dated: December 20, 2022
       Central Islip, New York

                                                             BRENNA B. MAHONEY
                                                             CLERK OF COURT

                                                     By:     /s/ James J. Toritto
                                                             Deputy Clerk




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